Case 08-14631-GMB   Doc 654-2 Filed 09/29/08 Entered 09/29/08 16:07:09   Desc
                           Exhibit B Page 1 of 7
Case 08-14631-GMB   Doc 654-2 Filed 09/29/08 Entered 09/29/08 16:07:09   Desc
                           Exhibit B Page 2 of 7
Case 08-14631-GMB   Doc 654-2 Filed 09/29/08 Entered 09/29/08 16:07:09   Desc
                           Exhibit B Page 3 of 7
Case 08-14631-GMB   Doc 654-2 Filed 09/29/08 Entered 09/29/08 16:07:09   Desc
                           Exhibit B Page 4 of 7
Case 08-14631-GMB   Doc 654-2 Filed 09/29/08 Entered 09/29/08 16:07:09   Desc
                           Exhibit B Page 5 of 7
Case 08-14631-GMB   Doc 654-2 Filed 09/29/08 Entered 09/29/08 16:07:09   Desc
                           Exhibit B Page 6 of 7
Case 08-14631-GMB   Doc 654-2 Filed 09/29/08 Entered 09/29/08 16:07:09   Desc
                           Exhibit B Page 7 of 7
